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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Case No. 21-cv-1445 (DSD/KMM)

UNITED STATES SECURITIES              )
AND EXCHANGE COMMISSION,              )
                                      )
                   Plaintiff,         )
                                      )      GOVERNMENT’S UNOPPOSED
      v.                              )      MOTION TO INTERVENE AND
                                      )      FOR A STAY OF PROCEEDINGS
MARK A. MILLER, SAIED                 )
JABERIAN, and CHRISTOPHER J.          )
RAJKARAN,                             )
                                      )
                   Defendants.        )

      The United States of America, by and through its attorneys, Charles J. Kovats,

Jr., Acting United States Attorney for the District of Minnesota, and Joseph H.

Thompson and Miranda E. Dugi, Assistant United States Attorneys, respectfully

seeks an order of this Court (a) permitting the United States to intervene in this

matter, and (b) temporarily staying discovery in this case until the resolution of

related, criminal litigation. This motion is unopposed and based on the Government’s

Memorandum in Support of Motion to Intervene and for a Stay of Proceedings.

Dated: November 12, 2021                     Respectfully submitted,

                                             CHARLES J. KOVATS, JR.
                                             Acting United States Attorney


                                              /s/ Joseph H. Thompson
                                      BY:    JOSEPH H. THOMPSON
                                             MIRANDA E. DUGI
                                             Assistant U.S. Attorneys
